Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 1 of 20 Page ID #:423




                                                                           36
Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 2 of 20 Page ID #:424




                                                                           37
Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 3 of 20 Page ID #:425




                                                                           38
Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 4 of 20 Page ID #:426




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 5 of 20 Page ID #:427




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 6 of 20 Page ID #:428




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 7 of 20 Page ID #:429




                                                                           42
Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 8 of 20 Page ID #:430




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 9 of 20 Page ID #:431




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 10 of 20 Page ID #:432




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 11 of 20 Page ID #:433




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 12 of 20 Page ID #:434




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 13 of 20 Page ID #:435




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 14 of 20 Page ID #:436




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 15 of 20 Page ID #:437




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 16 of 20 Page ID #:438




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 17 of 20 Page ID #:439




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 18 of 20 Page ID #:440




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 19 of 20 Page ID #:441




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Case 2:19-cv-08917-SB-KS Document 30-23 Filed 01/28/21 Page 20 of 20 Page ID #:442




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